                 Case 2:13-cr-00353-GEB Document 82 Filed 05/06/16 Page 1 of 2



 1 SCOTT N. CAMERON (SBN 226605)
   Attorney at Law
 2 1007 7th Street, Suite 319
   Sacramento, CA 95814
 3 Ph. 916-769-8842

 4
   Attorney for:
 5 EMILIANO CORTES-GARCIA

 6

 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. 13-CR-00353 GEB
12                                 Plaintiff,              STIPULATION TO CONTINUE
                                                           HEARING ON DEFENDANT’S
13   v.                                                    DISCOVERY MOTION;
                                                           [PROPOSED] ORDER
14   EMILIANO CORTES-GARCIA, et. al.
15                                 Defendants.
16

17                                               STIPULATION
18          Plaintiff, United States of America, by and through its counsel of record, and defendant,
19
     EMILIANO CORTES-GARCIA, by and through his counsel of record, hereby stipulate as follows:
20
            1.       Defendant Emiliano Cortes-Garcia filed a motion to compel discovery in this case.
21
     ECF No. 64.
22

23          2.       By stipulation and order, the hearing on the motion to compel discovery was

24 continued to May 10, 2016. See ECF No. 76.

25          3.       On April 11, 2016, the government provided 6,400 pages of additional discovery to
26 counsel for defendant Cortes-Garcia. The additional discovery may moot Cortes-Garcia’s pending

27
     discovery motion. However, counsel for defendant Cortes-Garcia needs additional time to review
28
                                                       1
                 Case 2:13-cr-00353-GEB Document 82 Filed 05/06/16 Page 2 of 2


     the 6,400 pages of new discovery to determine if it is appropriate to withdraw the pending discovery
 1
     motion.
 2

 3          4.       To allow counsel for defendant Cortes-Garcia to review the additional 6,400 pages of

 4 discovery, and to allow for said defense counsel to determine if it is appropriate to withdraw the

 5 pending discovery motion, the parties request that the motion hearing currently scheduled for May

 6
     10, 2016, be continued to June 1, 2016, at 2:00 p.m.
 7
            5.       Counsel for the government has authorized counsel for Emiliano Cortes-Garcia to
 8
     sign the stipulation on his behalf.
 9

10 IT IS SO STIPULATED.

11

12 DATED:            May 5, 2016

13
                                           /s/ Justin Lee
14                                         JUSTIN LEE
                                           Assistant United States Attorney
15

16

17 DATED:            May 5, 2016

18
                                           /s/ Scott Cameron
19                                         SCOTT N. CAMERON
                                           Counsel for EMILIANO CORTES-GARCIA
20

21                                                ORDER

22
            IT IS SO ORDERED this 6th day of May, 2016.
23

24

25

26

27

28
                                                       2
